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UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY
Caption in Compliance with D.N.J. LBR 9004-2(c)
MILSTEAD & ASSOCIATES, LLC
By: Andrew M. Lubin
Atty. ID: AL0814
1 E. Stow Road
Marlton, NJ 08053
(856) 482-1400
File No. 226472-11
Attorneys for Secured Creditor: Wilmington Trust, NA,
successor trustee to Citibank, N.A., as Trustee f/b/o holders
of Structured Asset Mortgage Investments II Inc., Bear
Stearns ALT-A Trust 2007-2, Mortgage Pass-Through
Certificates, Series 2007-2
In Re:                                                          Case No.: 19-23492-SLM
                                                                Chapter 13
James A. Gilmartin
                                                                Hearing Date: February 26, 2020
                                                                Time: 8:30 a.m.

                                                                Judge: Stacey L. Meisel

                   OBJECTION TO CONFIRMATION OF CHAPTER 13 PLAN

         Wilmington Trust, NA, successor trustee to Citibank, N.A., as Trustee f/b/o holders of

Structured Asset Mortgage Investments II Inc., Bear Stearns ALT-A Trust 2007-2, Mortgage Pass-

Through Certificates, Series 2007-2 (“Secured Creditor”), by its counsel, Andrew M. Lubin, Esquire, of

MILSTEAD & ASSOCIATES, LLC, states the following grounds as an Objection to Confirmation of

Debtor’s Chapter 13 Plan:

         1.    On July 16, 2019, Debtor, James A. Gilmartin filed a petition pursuant to Chapter 13 of

Title 11 of the United States Code in the United States Bankruptcy Court for the District of New Jersey.

         2.    Secured Creditor is the holder of a first mortgage on real property owned by the Debtor

known as and located at 131 Rock Road, Glen Rock, NJ 07452 (the “Property”).

         3.    Secured Creditor has not yet filed its Proof of Claim in this matter, but anticipates doing

so shortly. As such, Secured Creditor reserves the right to supplement this objection.
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       4.      As will be more fully set forth in the aforementioned proof of claim, as of the date of the

filing of the instant Chapter 13 petition, total arrears due to Secured Creditor through the Plan at this

time are anticipated to be approximately $161,543.25.

       5.      Debtor’s Chapter 13 Plan proposes a sale of the property.

       6.      Secured Creditor objects to receiving less than a full payoff of its loan at the time of the

sale of the property, unless a short sale has been approved in writing.

       7.      Secured Creditor objects in the event that Debtor is not current with adequate protection

payments at the time of the confirmation hearing.

       8.      Secured Creditor objects if the Debtor has not filed an application to appoint a realtor by

the time of the confirmation hearing.

       9.      Secured Creditor objects in the event that Debtor is not current with adequate protection

payments at the time of the confirmation hearing.

       WHEREFORE, Secured Creditor respectfully requests that the Court deny confirmation of the

Chapter 13 Plan for the reasons hereinabove set forth.

                                                      Respectfully submitted
                                                      MILSTEAD & ASSOCIATES, LLC
DATED: January 3, 2020
                                                      /s/Andrew M. Lubin
                                                      Andrew M. Lubin, Esquire
                                                      Attorney ID No. AL0814
                                                      1 E. Stow Road
                                                      Marlton, NJ 08053
                                                      (856) 482-1400
                                                      Attorneys for Secured Creditor
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MILSTEAD & ASSOCIATES, LLC
By: Andrew M. Lubin Atty. ID: AL0814
1 E. Stow Road
Marlton, NJ 08053
(856) 482-1400
File No. 226472-11
Attorneys for Secured Creditor: Wilmington Trust,
NA, successor trustee to Citibank, N.A., as Trustee
f/b/o holders of Structured Asset Mortgage
Investments II Inc., Bear Stearns ALT-A Trust 2007-2,
Mortgage Pass-Through Certificates, Series 2007-2
In Re:                                                    Case No.: 19-23492-SLM
                                                          Chapter 13
James A. Gilmartin

                                                          Judge: Stacey L. Meisel

                                        CERTIFICATION OF SERVICE

1.       I, Andrew M. Lubin, Esquire:

            represent the Secured Creditor in the above-captioned matter.

             am the secretary/paralegal for _____________________, who represents the

         ______________________ in the above captioned matter.

             am the _________________________ in the above case and am representing myself.

2.       On January 3, 2020, I sent a copy of the following pleadings and/or documents to the parties listed in the

         chart below:

Objection to Confirmation of Chapter 13 Plan


3.       I hereby certify under penalty of perjury that the above documents were sent using the mode of service

         indicated.


DATED: January 3, 2020                                    /s/ Andrew M. Lubin
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 Name and Address of Party Served         Relationship of             Mode of Service
                                         Party to the Case
Marie-Ann Greenberg                           Trustee            Hand-delivered
Chapter 13 Trustee
                                                                 Regular Mail
30 Two Bridges Road
Suite 330                                                        Certified mail/RR
Fairfield, New Jersey 07004                                     E-mail
                                                                Notice of Electronic Filing
                                                             (NEF)
                                                                 Other __________________
                                                                (as authorized by the court *)
John P. Fazzio                           Debtor's Attorney       Hand-delivered
164 Franklin Turnpike
                                                                 Regular Mail
Mahwah, NJ 07430
                                                                 Certified mail/RR
                                                                E-mail
                                                                Notice of Electronic Filing
                                                             (NEF)
                                                                 Other __________________
                                                                (as authorized by the court *)
James A. Gilmartin                             Debtor            Hand-delivered
131 Rock Road
                                                                 Regular Mail
Glen Rock, NJ 07452
                                                                 Certified mail/RR
                                                                 E-mail
                                                                Notice of Electronic Filing
                                                             (NEF)
                                                                Other __________________
                                                               (as authorized by the court *)
* May account for service by fax or other means as authorized by the court through the issuance of an
Order Shortening Time.
